      Case 5:16-cv-00350 Document 1-3 Filed in TXSD on 12/07/16 Page 1 of 29



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 LAREDO DIVISION


JOSE M. HOLGUIN                                                         CIVIL ACTION NO.


               Plaintiff,

vs.
                                                                          5:16-cv-350

STATE FARM LLOYDS
AND RICARDO ALVARADO


               Defendants                                               JURY REQUESTED



                            INDEX OF STATE COURT PAPERS
                             IN CAUSE NO. 2016CVF002577-D3



         1.    Cover Docket Sheet for the District Court, 341^^ Judicial District, Webb County,
               Texas


         2.    Plaintiffs Original Petition

         3.    Citation issued to State Farm Lloyds

         4.    Civil Case - Calendar Call Setting

         5.    Return of Service - Certified Mail - State Farm Lloyds

         6.    Original Answer of Defendant State Farm Lloyds to Plaintiffs Original Petition

         7.    Correspondence to Court Clerk requesting copies

         8.    Correspondence to Court Clerk - payment of fees




                                              EXHIBIT
      Case 5:16-cv-00350
2016CVF002577              Document
              D3 : Jose M Holguin       1-3 Farm
                                  vs. State  Filed in TXSD
                                                 Lloyds,    on 12/07/16
                                                         Ricardo Alvarado : Page
                                                                            Webb 2...of 29
                                                                                        Page 1 of 2




                     UDICIAL
                                                                                 As of 12/6/2016 4:19:26 PM

  Case # 2016CVF002577 D3


       Jose M Holguin vs. State Farm Lloyds, Ricardo Alvarado

       Type:             Contract


       Date Filed:       10/5/2016 12:00:00 AM

       Court:            341st District Court


       Complaint:        Contract


      Party Information                                       Attorney Information
      Name                           Affiliation              Name               Affiliation

      State Farm Lloyds              Defendant                Daniel C Andrews   Attorney for Defendant

     Jose M Holguin                  Plaintiff                Robert A Pollom    Attorney for Plantiff

      Ricardo Alvarado               Defendant



      Court Dates

                                                              Description                  Status

      1/3/2017 1:30:00 PM                                     Calendar Call                Open


      Activity
                          Type                   Description

      12/5/2016                                  *IMG* LETTER FROM JONES, ANDREWS, & ORTIZ PAYING
                          Filing Papers
      10:56:53 AM                                FEES. (SL)

      12/2/2016                                  ^IMG'^ LETTER FROM JONES, ANDREWS & ORTIZ
                           Filing Papers         REQUESTING COPIES. (SL)
      2:23:19 PM

      11/28/2016                                 *IMC* ORIGINAL ANSWER OF DEFENDANT STATE FARM
                          Answer
      9:28:12 AM                                 LLOYDS TO PLAINTIFF'S ORIGINAL PETITION. (SL)

                                                 *IMG* CITATION RETURN EXECUTED AS TO STATE FARM
      11/14/2016
                           Returns               LLOYDS BY SERVING ITS AGENT: CORPORATION SERVICE
      12:00:00 PM
                                                 CO. (DOS: 11/7/16). EJG

      10/17/2016           Notes                 *IMG*CALENDAR CALL FAXED TO ATTORNEY
      11:23:02 AM



 http://www.webbcountytx.gov/judgescalendar/ViewCase.aspx7case-2016CVF002577%20... 12/6/2016
     Case 5:16-cv-00350
2016CVF002577              Document
              D3 : Jose M Holguin      1-3 FarmLloyds,
                                  vs. State Filed in TXSD  on 12/07/16
                                                        Ricardo Alvarado Page
                                                                         : Webb3 ...
                                                                                  of 29
                                                                                      Page2 of 2


     Activity
     Date                     Type                   Description

                                                     *IMG*FOUR CITATIONS ISSUED-HELD BY CLERK PENDING
     10/17/2016
                              Issuance               COPIES AND S.A.SE. CITATIONS MAILED TO ATTORNEY
     11:20:47 AM
                                                     INS.A.S.E. ON 10/21/2016

                                                     Court date/time: 1/03/2017 13:30 Hearing Type: 17
     10/14/2016               Court Case
                                                     CIndr Call Assignment of court date/time. Status
     3:34:30 PM               Assignment
                                                     entered as Open
     10/5/2016
                              Complaint              *IMG*CONTRACT
     4:51:38 PM

     10/5/2016                                       Case Status entered as ACTV. Case Status ACTV: Active
                              Case Status
     4:51:38 PM                                      For STATE FARM LLOYDS


    For more information, please contact the Webb County District Clerks (956-523-4268) or County Clerks (956-523-4266) office.




http://www.webbcountytx.gov/judgescalendar/ViewCase.aspx?case=2016CVF002577%20... 12/6/2016
Case 5:16-cv-00350 Document 1-3 Filed in TXSD on 12/07/16 Page 4 of 29

                                                                                                               Filed
                                                                                             10/5/2016 3:18:22 PM
                                                                                                    Esther Degollado
                                                                                                       District Clerk
                                                                                                       Webb District
                                                                                                  Esmeralda Alvarado
                              CAUSE NO.                                                           2016CVF002577D3


JOSEM.HOLGUIN                                 §                 IN THE DISTRICT COURT
                                              §
                                              §
Y                                             §                       JUDICIAL DISTRICT
                                              §
                                              §
STATE FARM LLOYDS                             §
AND RICARDO ALVARADO                          §                   WEBB COUNTY, TEXAS
                         PLAINTIFF*S ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

        Plaintiff JOSE M. HOLGUIN, files this Original Petition against STATE FARM
LLOYDS ("STATE FARM" or the "INSURANCE DEFENDANT"), and RICARDO
ALVARADO ("ALVARADO" or "ADJUSTER DEFENDANT" or herein collectively as
"DEFENDANTS") and in support thereof, would show as follows:
                                              I.
                        DISCOVERY CONTROL PLAN LEVEL

        Plaintiffintends for discovery to be conducted under Level 3ofRule 190 ofthe Texas
 Rules of Civil Procedure. This case involves complex issues and will require extensive

discovery. Therefore, Plaintiff will ask the Court to order that discovery be conducted in
 accordance with a discovery control plan tailored to the particular circumstances ofthis suit.
                                          II.
                                 PARTIES AND SERVICE


         Plaintiff resides in Webb County, Texas.

         Defendant STATE FARM is in thebusiness of insurance in the State of Texas. The

 insurance business done by INSURANCE DEFENDANT in Texas includes, but is not
 limited to, the following:
Case 5:16-cv-00350 Document 1-3 Filed in TXSD on 12/07/16 Page 5 of 29




       •      The malcing and issuing ofcontracts ofinsurance with the Plaintiff;
       •      The taking or receiving of application for insurance, including the
              Plaintiffs application for insurance;

       •      The receiving or collection ofpremiums, commissions, membership fees,
              assessments, dues or other consideration for any insurance or any part
               thereof, including any such consideration or payments from the Plaintiff;
               and


       •       The issuance ordelivery of contracts of insurance to residents of this state
               or aperson authorized to do business in this state, including the Plaintiff.
       This defendant may be served with personal process, by aprocess server, by serving
its registered agent Corporation Service Company, 211 East 7*^ Street, Suite 620, Austin,
Texas 78701 or wherever else it may be found.

       Defendant, RICARDO ALVARADO, is an mdividual residing in and domiciled in
the State ofTexas. This defendant may be served with personal process via personal service
at823 Main Street, Alamo, Texas 78516, orwherever else he may befound.
                                            III.
                             JURISDICTION AND VENUE

       Venue is appropriate in Webb County, Texas because all or part ofthe conduct
giving rise to the causes ofaction were committed in Webb County, Texas and the Plaintiff
and property which is the subject ofthis suit are located in Webb County, Texas.
        Accordingly, venue is proper pursuant to Texas Civil Practice &Remedies Code
§15.002.

                                            IV.
                                          FACTS


        Plaintiff is the owner of a Texas Homeowner's Insurance Policy (hereinafter

 referred to as "the Policy"), which was issued by INSURANCE DEFENDANT.
        Plaintiff owns the insured property, which is specifically located at 3919 Sitting
 Bull, Laredo, Texas 78043 (hereinafter referred to as "the Property").
Case 5:16-cv-00350 Document 1-3 Filed in TXSD on 12/07/16 Page 6 of 29




       INSURANCE DEFENDANT sold the Policy insuring the Property toPlaintiff.
       During the terms ofsaid Policy, Plaintiff sustained covered losses in the form
of wind and/or hail damage and damages resulting therefrom, and Plaintiff timely
reported same pursuant to the terms of the Policy. Plaintiff asked that INSURANCE
DEFENDANT cover the cost of repairs to the Property pursuant to the Policy.
INSURANCE DEFENDANT failed to conduct a full, fair and adequate investigation of
Plaintiffs covered damages.

       As detailed in the paragraphs below, INSURANCE DEFENDANT wrongfully
denied Plaintiffs claim for repairs to the Property, even though the Policy provided
coverage for losses such as those suffered by Plaintiff. Furthermore, INSURANCE
DEFENDANT failed to pay Plaintiffs claim by not providing fiill coverage for the
damages sustained by Plaintiff.

        To date, INSURANCE DEFENDANT continues to delay in the payment for the
 damages to the Property.

        INSURANCE DEFENDANT failed to perform its contractual duty to

 adequately compensate Plaintiff under the terms of their Policy. Specifically,
 INSURANCE DEFENDANT refused to pay the full proceeds of the Policy after its
 agent, ADJUSTER DEFENDANT conducted an outcome-oriented investigation, although
 due demand was made for proceeds to be paid in an amount sufficient to cover the damaged
 property, and all conditions precedent to recovery under the Policy have been earned out and
 accomplished by Plaintiff. INSURANCE DEFENDANT'S conduct constitutes abreach of
 the insurance contract between it and Plaintiff.
Case 5:16-cv-00350 Document 1-3 Filed in TXSD on 12/07/16 Page 7 of 29




        Pleading further, INSURANCE DEFENDANT misrepresented to Plaintiffthat the
damage to the Property was not covered under the Policy, even though the damage was
caused by a covered occurrence. INSURANCE DEFENDANT'S conduct constitutes a
violation of the Texas Insurance Code, Unfair Settlement Practices. TEX. INS. CODE

§541.060(a)(l).

        INSURANCE DEFENDANT failed to make an attempt to settle Plaintiff's

claim in a fair manner, although itwas aware ofits liability to Plaintiffunder the Policy.
Its conduct constitutes a violation of the Texas Insurance Code, Unfair Settlement

Practices. TEX. INS. CODE §541.060(a)(2)(A).

        INSURANCE DEFENDANT failed to explain to Plaintifif any valid reason for its

coverage denial and offer ofan inadequate settlement. Specifically, itfailed to offer Plaintiff
 full compensation, without any valid explanation why full payment was not being made.
 Furthermore, INSURANCE DEFENDANT did not communicate that any future
 settlements or payments would be forthcoming to pay for the entire loss covered under the
 Policy, nor did itprovide any explanation for the failure to adequately settle PlaintifFs claim.
 INSURANCE DEFENDANT conduct is a violation of the Texas Insurance Code, Unfeir
 Settlement Practices. TEX. INS. CODE §541.060(a)(3).

        INSURANCE DEFENDANT failed tomeetitsobligations undertheTexas Insurance

 Code regarding timely acknowledging PlaintifTs claim, beginning an investigation of
 Plaintiff's claim, and requesting all information reasonably necessary to investigate
 PlaintifFs claim within the statutorily mandated time of receiving notice of Plaintiffs
 claim. Its conduct constitutes a violation of the Texas Insurance Code, Prompt Payment

 of Claims. TEX. INS. CODE §542.055.
Case 5:16-cv-00350 Document 1-3 Filed in TXSD on 12/07/16 Page 8 of 29




       Further, INSURANCE DEFENDANT failed to accept or deny Plaintiffs full
and entire claim within the statutorily mandated time of receiving all necessary
information. Its conduct constitutes a violationof the Texas Insurance Code, Prompt

Payment of Claims. TEX. INS. CODE §542.056.

       INSURANCE DEFENDANT failed to meet its obligations under the Texas

Insurance Code regarding payment ofclaims without delay. Specifically, it has delayed
full payment ofPlaintiffs claim and, to date. Plaintiffhas not received full payment for
theclaim. Its conduct constitutes a violation of the Texas Insurance Code, Prompt

Payment ofClaims. TEX. INS. CODE §542.058.

       From and after the time Plaintiffs claim was presented to INSURANCE

DEFENDANT, its liability to pay the full claim inaccordance with the terms ofthe Policy
was reasonably clear. However, it has refiised to pay Plaintiff in full, despite there being
no basis whatsoever upon which areasonable insurance company would have relied to
deny the full payment. INSURANCE DEFENDANT'S conduct constitutes a breach of
the common law dutyof good faith and fair dealing.

       Additionally, INSURANCE DEFENDANT knowingly or recklessly made
false representations, as described above, as to material facts and/or knowingly concealed
all orpartofmaterial information from Plaintiff.

       Because of INSURANCE DEFENDANT'S wrongful acts and omissions.

Plaintiff was forced to retain the professional services of the attorney and law

firm who is representing Plaintiffwith respect to these causes of action.
Case 5:16-cv-00350 Document 1-3 Filed in TXSD on 12/07/16 Page 9 of 29




                                            V.


             CAUSES OF ACTION AGAINST INSURANCE DEFENDANT

A.     BREACH OF CONTRACT

       INSURANCE DEFENDANT'S conduct constitutes a breach of the insurance

contract between it and Plaintiff. Defendant's failure and/or re&sal, as described above,

to pay Plaintiff adequate compensation as it is obligated to do under the terms ofthe
Policy in question, and under the laws ofthe State ofTexas, constitutes a breach of
the insurance contract with Plaintiff.

B.     NONCOMPLIANCE WITH TEXAS INSURANCE CODE;

        1,      UNFAIR SETTLEMENT PRACTICES

        INSURANCE DEFENDANT'S conduct constitutes multiple violations of the

Texas Insurance Code, Unfair Settlement Practices: TX. INS. CODE §541.060(a). All
violations underIhis article are madeactionable by TEX. INS. CODE §541.151.

        INSURANCE DEFENDANT'S unfair settlement practice, as described above,

ofmisrepresenting to Plaintiffmaterial facts relating to the coverage atissue, constitutes an
unfair method ofcompetition and an unfair and deceptive act orpractice in the business
of insurance. TEX. INS. CODE §541.060(a)(1).

        INSURANCE DEFENDANT'S unfair settlement practice, as described above,

offailing to attempt in good faith to effectuate aprompt, fair, and equitable settlement of
 the claim, even though its liability under the Policy was reasonably clear, constitutes an
 unfair method of competition and an unfair and deceptive act orpractice in the business
 of insurance. TEX. INS. CODE §541.060(a)(2)(A).

        INSURANCE DEFENDANT'S unfair settlement practice, as described above,

 of refusing to pay Plaintiffs claim without conducting a reasonable investigation.
Case 5:16-cv-00350 Document 1-3 Filed in TXSD on 12/07/16 Page 10 of 29




 constitutes an unfair method ofcompetition and an unfair and deceptive act orpractice in
 the business of insurance. TEX. INS. CODE §541.060(a)(7).

        2.     THE PROMPT PAYMENT OF CLAIMS

        INSURANCE DEFENDANT'S conduct constitutes multiple violations of the

 Texas Insurance Code, Prompt Payment ofClaims. All violations made under this article
 aremade actionable byTEX. INS. CODE §542.060.

        INSURANCE DEFENDANT'S failure to acknowledge receipt of Plaintiffs

 claim, commence investigation of the claim, and request from Plaintiff all items,
 statements, and forms that it reasonably believed would be required within the
 applicable time constraints, as described above, constitutes a non-prompt payment of
 claims and a violation ofTEX. INS. CODE §542.055.

        INSURANCE DEFENDANT'S failure to notify Plaintiff in writing of its

 acceptance or rejection ofthe claim within the applicable time constraints constitutes a
 non-prompt payment ofthe claim. TEX. INS. CODE §542.056.
        INSURANCE DEFENDANT'S delay of the payment of Plaintiffs claim

 following its receipt of all items, statements, and forms reasonably requested and
 required, longer than the amount oftime provided for, as described above, constitutes a
 non-prompt payment ofthe claim. TEX. INS. CODE §542.058.
 C.     BREACH OF THE DUTY OF GOOD FAITH AND FAIR DEALING

        INSURANCE DEFENDANT'S conduct constitutes a breach of the common law

 duty ofgood faith and feir dealing owed to insureds pursuant to insurance contracts.
        INSURANCE DEFENDANT'S failure, as described above, to adequately and

 reasonably investigate and evaluate Plaintiffs claim, although, at that time, it knew or
Case 5:16-cv-00350 Document 1-3 Filed in TXSD on 12/07/16 Page 11 of 29




 should have known by the exercise ofreasonable diligence that its liability was reasonably
 clear, constitutes a breach ofthe duty ofgood faith and fair dealing.
                                             VI.
             CAUSES OF ACTION AGAINST ADJUSTER DEFENDANT

 A.     NONCOMPLIANCE WITH TEXAS INSURANCE CODE

        Plaintiffre-alleges the foregoing paragraphs. At all pertinent times, ALVARADO,
 the ADJUSTER DEFENDANT, was engaged in the business ofinsurance as defined by
 the Texas Insurance Code. The acts and omissions of the ADJUSTER DEFENDANT and
 his agents constitute one or more violations of the Texas Insurance Code. More
 specifically, the ADJUSTER DEFENDANT has, among other violations, violated the
 following provisionsof the Code:

             1, Insurance Code § 542.003(b)(5) and 28 TAC 21.203(5).

             2. Insurance Code chapter 541, section 541.060 by, among other things:

        • misrepresenting one or more material facts and/or policy provisions relating to
             coverage;


        • failing to attempt in good faith to effectuate a prompt, fair, and equitable
             settlement ofaclaim with respect to which their liability has become reasonably
             clear,

         • failing to attempt in good faith to effectuate a prompt, fair, and equitable
             settlement of a claim under one portion of a policy with respect to which
             liability has become reasonably clear in order to influence Plaintiffto settle the
             claim with respect to another portion of the policy;

         • failing to promptly provide a reasonable explanation ofthe basis in law or fact
             for the denial of Plaintiffs claims;

         • refusing toafBrm or deny coverage within a reasonable time;

         •   refiising to conduct a reasonable investigation;

         • ignoring damage known tobecovered bythe Policy; and/or

         • conducting an outcome-oriented investigation in order to provide
             INSURANCE DEFENDANT with a basis to underpay the claim.
                                               8
Case 5:16-cv-00350 Document 1-3 Filed in TXSD on 12/07/16 Page 12 of 29




        The foregoing paragraphs are incorporated herein. The INSURANCE
DEFENDANT assigned the loss and the claim to RICARDO ALVARADO who was at all
pertinent times the agent ofthe INSURANCE DEFENDANT, through both actual and
apparent authority. The acts, representations and omissions of the ADJUSTER
DEFENDANTare attributed to the INSURANCE DEFENDANT.

        ADJUSTER DEFENDANT inspected Plaintiffs property on orabout February 18,
2016.    During the inspection, ADJUSTER DEFENDANT was tasked with the
responsibility ofconducting a thorough and reasonable investigation ofPlaintiffs claim,
including determining the cause of and then quantifying all of the damage done to
Plaintiffs property. During the inspection, ADJUSTER DEFENDANT ignored covered
damages to the Property and refused to address all ofthe damages caused by the loss.
 Specifically, Alvarado, ignored covered damages including but not limited to the entire
 main house roof. Subsequent to the inspection, ADJUSTER DEFENDANT prepared a
 repair estimate, completed on or about February 18,2016, which vastly under-scoped the
 actual covered damages to the property, thus demonstrating ADJUSTER DEFENDANT
 didnot conduct a thorough investigation of the claim.

        Despite having been assigned the claim, and despite being given authority and
 instructions to inspect, adjust and evaluate the claim, the ADJUSTER DEFENDANT failed
 and refused to properly adjust the claim. The ADJUSTER DEFENDANT failed to properly
 inspect the property and the damages, failed to request information, failed to adequately
 investigate the claim, failed to respond to requests for information from the Plaintiff, failed
 to timely evaluate the claim, failed to timely and properly estimate the claim, and failed to
 timely and properly report to the INSURANCE DEFENDANT and make
 recommendations to the INSURANCE DEFENDANTto address all the covered damages.
Case 5:16-cv-00350 Document 1-3 Filed in TXSD on 12/07/16 Page 13 of 29




        The Plaintiff provided information regarding the loss and the claim to the
 ADJUSTER DEFENDANT. ThePlaintiffallowed theADJUSTER DEFENDANT fulland

 complete access to the property. The Plaintiff provided sufficient information to the
 ADJUSTER DEFENDANT to adjust and evaluate the loss. The Plaintiff made inquiries
 regarding the status ofthe loss and payment, but the ADJUSTER DEFENDANT failed and
 refused to respond to the inquiries and failed to properly adjust the claim and the loss. As
 a result of the ADJUSTER DEFENDANT'S inadequate and outcome-oriented

 investigation, todate. Plaintiffhas not received full payment forthe claim.
        The ADJUSTER DEFENDANT'S actions were negligent, reckless, willful and

 intentional, and were the proximate and producing cause ofdamages to the Plaintiff.
        Where statements were made by the ADJUSTER DEFENDANT, Plaintiff
 reasonably relied upon them. As a result ofthe foregoing conduct, which was and is the
 producing cause(s) of injury and damage to Plaintiff Plaintiff has suffered damages
 including, without limitation, actual damages, economic damages, and consequential
 damages. Moreover, one or more of the foregoing acts or omissions were "knowingly"
 made, entitling Plaintiff toseek treble damages pursuant to the Insurance Code.
                                        VII.
                                     KNOWLEDGE


        Eachof theacts described above, together and singularly, was done "knowingly"

 by DEFENDANTS as that term is used in the Texas Insurance Code, and was a
 producing cause of Plaintiffs damages described herein.




                                             10
Case 5:16-cv-00350 Document 1-3 Filed in TXSD on 12/07/16 Page 14 of 29




                                           vm.
                                        DAMAGES


         Plaintiff would show that all of the aforementioned acts, taken together or

 singularly, constitute the proximate and producing causes ofthe damages sustained by
 Plaintiff.


         As previously mentioned, the damages caused by the covered losses have not
 been properly addressed or repaired in the months since the loss occurred, causing further
 damage to the Property, and causing undue hardship and burden to Plaintiff. These damages
 are a direct result of DEFENDANTS' mishandling of Plaintiffs claim in violation of the

 laws set forth above.

         For breach of contract, Plaintiff is entitled to regain the benefit of thebargain,
 which is the amount of the claim, together with attorney's fees.

         For noncompliance with the Texas Insurance Code, Unfair Settlement Practices,
 Plaintiff is entitled to actual damages, which include the loss ofthe benefits that should
 have been paid pursuant to the policy, court costs, and attorney's fees. For knowing conduct
 ofthe acts described above. Plaintiff asks for three times theactual damages. TEX. INS.
 CODE §541.152.

          For noncompliance with the Texas Insurance Code, Prompt Payment of
 Claims, Plaintiff is entitled to the amount of Plaintiffs claim, as well as eighteen (18)
 percent interest per annum on the amount of such claim as damages, together with
 attorney's fees. TEX. INS. CODE §542.060.

          For breach ofthe common law duty ofgood faith and fair dealing. Plaintiffisentitled
 to compensatory damages, including all forms ofloss resulting from the insurer's breach
 of duty, such as additional costs, losses due to nonpayment of the amount the insurer
 owed, and exemplary damages.

                                              11
Case 5:16-cv-00350 Document 1-3 Filed in TXSD on 12/07/16 Page 15 of 29




        For the prosecution and collection ofthis claim. Plaintiff has been compelled
 to engage the services of the attorney whose name is subscribed to this pleading.
 Therefore, Plaintiff is entitled to recover a sum for the reasonable and necessary
 services of PlaintifFs attorney in the preparation and trial of this action, including any
 appeals to the Court ofAppeals and/or the Supreme Court ofTexas.
                                            IX.


        In addition, as to any exclusion, condition, or defense pled by DEFENDANTS,
 Plaintiff would show that:

        The clear and unambiguous language of the policy provides coverage for damage
 caused by losses made the basis ofPlaintiffsclaim, including the cost ofaccess to fix the
 damages;

        In the altemative, any other construction of the language of the policy is void as
 againstpublic policy;

        Any other construction and its use by the DEFENDANTS violate the Texas
 Insurance Code section 541 et. seq. and is voidas against public policy;

        Any other construction violates Art. 17.50 ofthe Texas Business and Commerce
 Code and is unconscionable and is void as against public policy and was procured by

 fraudulent inducement;

        Any other construction is otherwise void as against public policy, illegal, and
 violates state law and administrative rule and regulation.

        In the altemative, should the Court fmd any ambiguity in the policy, the rules of

 construction ofsuch policies mandate the construction and interpretation urged byPlaintiff;
        In the altemative, DEFENDANTS are judicially, administratively, or equitably
 estopped from denying Plaintiffs construction of the policy coverage at issue;

                                              12
Case 5:16-cv-00350 Document 1-3 Filed in TXSD on 12/07/16 Page 16 of 29




        In the alternative, to the extent that the wording of such policy does not reflect the

 true intent of all parties thereto, Plaintiff pleads the doctrine of mutual mistake requiring
 information.

                                             X.
                            REQUEST FOR DISCLOSURES

        Pursuant to the Texas Rules of Civil Procedure 194, Plaintiff requests that

 DEFENDANTS provide the information required in a Request forDisclosure.

                                             XI.
      FIRST REQUEST FOR PRODUCTION TO INSURANCE DEFENDANT

        1) Produce the INSURANCE DEFENDANT'S complete claim file (excluding all
           privileged portions) in your possession for Plaintiffs property relating to or
           arising out of any damages caused by the loss for which INSURANCE
           DEFENDANT opened a claim under the Policy. Please produce a privilege log
            foranyportions withheld on a claim of privilege.

        2) Produce all non-privileged emails and other forms ofcommunication between
            INSURANCE DEFENDANT,                   its agents,   adjusters,   employees,    or
            representatives and the adjuster, and/or their agents, adjusters, representatives
            or employees relating to, mentioning, concerning or evidencing the
            Plaintiffs property which is the subject of this suit.

        3) Produce any complete claim file (excluding all privileged portions) in the
           INSURANCE DEFENDANT'S possession for the PlaintifB'insured and/or for
           the Plaintiffs property as listed in the Plaintiffs Original Petition, relating to
           orarising out of any claim for damages which INSURANCE DEFENDANT
           opened a claim under any policy. Please produce a privilege log for any
            portions withheld on a claim of privilege.

                                             XII.
       FIRST REQUEST FOR PRODUCTION TO ADJUSTER DEFENDANT

         1) Produce ADJUSTER DEFENDANT'S complete claim or adjusting file for
            Plaintiffs property. Please produce a privilege log for any portions withheld
            on a claim of privilege.




                                              13
Case 5:16-cv-00350 Document 1-3 Filed in TXSD on 12/07/16 Page 17 of 29




        2) Produce all emails and other forms of communication between INSURANCE
           DEFENDANT, its agents, adjusters, employees, or representatives and the
            ADJUSTER DEFENDANT, and/or their agents, adjusters, representatives or
            employees relating to, mentioning, concerning or evidencing the Plaintiffs
            property which is the subject of this suit. This includes any correspondence or
            communications related to the Plaintiffs property, whether related to thisclaim'
            or any other claim in the INSURANCE DEFENDANT'S possession. Please
            produce a privilege log for any items withheld ona claim of privilege.
                                             XIII.


        As required by Rule 47(b), Texas Rules of Civil Procedure, Plaintiffs counsel
 states that the damages sought are in an amount within the jurisdictional limits of this
 Court. As required by Rule 47(c), Texas Rules ofCivil Procedure, Plaintiffs counsel states
 that Plaintiffseeks monetary relief, the maximum ofwhich is over $100,000 butnotmore
 than $200,000. The amount of monetary reliefactually awarded, however, will ultimately

 be determined by a jury. Plaintiff also seeks pre-judgment and post-judgment interest at

 the highest legal rate.

                                              XIV.
                                           PRAYER


         WHEREFORE, PREMISES CONSIDERED, Plaintiffrequests thatDEFENDANTS

 be cited to appear and answer herein; that, onfinal hearing. Plaintiff have judgment against
 DEFENDANTS foran amount, deemed to bejust and fairby thejury, which willbe a sum

 within the jurisdictional limits ofthis Court; for costs ofsuit; for interest onthe judgment; for
 pre-judgment interest; and, for such other and fiirther relief, inlaw orin equity, either general
 or special, including the non-monetary relief of declaratory judgment against the
 INSURANCE DEFENDANT, to which Plaintiffmay be justly entitled.




                                                14
Case 5:16-cv-00350 Document 1-3 Filed in TXSD on 12/07/16 Page 18 of 29




                                  Respectfully submitted,

                                  KETTERMAN ROWLAND & WESTLUND
                                  16500 San Pedro, Suite 302
                                  San Antonio, Texas 78232
                                  Telephone:     (210)490-7402
                                  Facsimile:     (210)490-8372

                            BY:   /s/ Robert A. Pollom
                                  Robert A. Pollom
                                  State Bar No. 24041703
                                  robert@Ja-wlawvers.com


                                  ATTORNEYS FOR PLAINTIFF



                PLAINTIFF REQUESTS A TRIAL BY JURY




                                  15
      Case 5:16-cv-00350 Document 1-3 Filed in TXSD on 12/07/16 Page 19 of 29



                                                                                  SERVE
                                                                       2016CVF002577 D3

                                   CITATION




the state of TEXAS                                 COURT DATE 0l/03/2017@l:30PM
COUNTY OF WEBB


NOTICE TO THE DEFENDANT: '^YOU HAVE BEEN SUED. YOU MAY EMPLOY AN ATTORNEY.
IF YOU OR YOUR ATTORNEY DO NOT FILE A WRITTEN ANSWER WITH THE CLERK WHO
ISSUED THIS CITATION BY 10:00 A.M. ON THE MONDAY NEXT FOLLOWING THE EXPIRATION
OF TWENTY DAYS AFTER YOU WERE SERVED THIS CITATION AND PETITION, A DEFAULT
JUDGMENT MAY BE TAKEN AGAINST YOU."

TO:     STATE FARM LLOYDS BY SERVING ITS AGENT:CORPORATION SERVICE CO. AT:
        211 EAST 7TH STREET STE 620
        AUSTIN,   TX 78701

DEFENDANT, IN THE HEREINAFTER STYLED AND NUMBERED CAUSE, YOU ARE HEREBY
COMMANDED TO APPEAR BEFORE THE 341ST DISTRICT COURT of Webb County, Texas,
to be held at the said courthouse of said county in the city of Laredo, Webb
County, Texas, by filing a written answer to the Petition of Plaintiff at or
before 10:00 O'CLOCK A.M. of the Monday next after the expiration of 20 days
after the date of service thereof, a copy of which accompanies this citation,
in the Cause #: 2016CVF002577 D3 , styled:
                           JOSE M HOLGUIN,        PLAINTIFF
                                            VS.

                STATE FARM LLOYDS AND RICARDO ALVARADO DEFENDANTS

Said Plaintiff's Petition was filed on 10/05/2016 in said court by:
        ROBERT A POLLOM, ATTORNEY FOR PLAINTIFF
        16500 SAN PEDRO STE 302
        SAN ANTONIO,   TX 78232

WITNESS ESTHER DEGOLLADO, DISTRICT CLERK OF WEBB COUNTY, TEXAS, Issued and
given under my hand and seal of said court at office, this 17 day of October,
2016.



                 CLERK                     OF           COURT


                                       ^      ESTHER DEGOLLADO
                                      \^% WEBB COUNTY DISTRICT CLERK
                                              P.O.   BOX 667
                                              LAREDO,   TX 78042




                                      BY:                                   DEPUTY
                                                  ESMERALDA ALVARADO
      Case 5:16-cv-00350 Document 1-3 Filed in TXSD on 12/07/16 Page 20 of 29




                                                                   2016CVF002577 D3

                             OFFICER'S RETURN

                                                             ,   2016 at
       Came to hand on the        day of

           O'CLOCK       .M. Executed at
                                                      O'CLOCK          • M.    on
within the COUNTY of                 at

the          day of                , 2016, by delivering to the within named
STATE FARM LLOYDS, each, in person, a true copy of this citation together
with the accompanying copy of the petition, having first attached such copy
of such petition to such copy of citation and endorsed on such copy of
citation the date of delivery.

The distance actually traveled by me in serving such process was
miles, and my fees are as follows:

Total Fee for serving this citation

To certify which, witness my hand officially.


                                           SHERIFF, CONSTABLE

                                                                 COUNTY,      TEXAS



                                           BY
                                                                               DEPUTY



THE STATE OF TEXAS }
COUNTY OF WEBB     }

Before me, the undersigned authority, on this day personally appeared
                                 , who after being duly sworn, upon oath saia
that a notice, of which the above is a true copy, onwastheby him/her delivered
                                                                         day of

SWORN TO AND SUBSCRIBED BEFORE ME on the            day of
             , to certify which witness my hand and seal of office



                                                                           NOTARY PUBLIC
                                           MY COMMISSION EXPIRES
                                                                          DAVILA CiVIL PROCESS                                                  HELOTES, TX
                                                                                                                                                  78023
                                                                                                  701E> QbDO DOOD MOl? 3515
                                                                                                                                                "mifi
Case 5:16-cv-00350 Document 1-3 Filed in TXSD on 12/07/16 Page 21 of 29




                                                                               P.O. Box 1733                                     1000
                                                                                                                                        70701
                                                                                                                                                  $7.57
                                                                                                                                                R230BH128330-03
                                                                            Helotes,Tdxas 78023
                                                                                                    (lorpon3dh}jy\
                                                                                                     31/1                 Shee^^ Su^
                                                                                                               flejcas T^7^5/
     L
  Case 5:16-cv-00350 Document 1-3 Filed in TXSD on 12/07/16 Page 22 of 29




                                     HONORABLE BECKIE PALOMO
                                          State District Court Judge
                                        341" JUDICIAL DISTRICT OF TEXAS
                                         WEBB COUNTY JUSTICE CENTER
                                            1110 Victoria Street, Suite 302
                                               Laredo, Texas 78040>4439



                              CIVIL CASE - CALENDAR CALL SETTINGS


                      RE: CAUSE NO:       201fiCVF002S77 D3

                               STYLE: JOSE M HOLGUIN

                                          VS

                                          STATE FARM LLOYDS



NOTICE that this case IS SET FOR CALENDAR CALL on                01/03/2017
at 1:30 PM at the 341 st District Courtroom, 3"* Floor, Webb CountyJusticeCenter.

Calendar Call hearings will be in open Court and on the record before JUDGE BECKIE PALOMO.
Your presence is MANDATORY unless Counsel for PlaintifF(s) file ajoint Pre-Trial Guideline Order
(PTGO) with all counsels signatures onthePTGO.

You may download the PTGO atour website:
http://www.webbcountytx.gov/DC341st/Links/civ_Jury%20FTGO.pdf
Counsel for PlaintifRsV ifyou do not appear for calendar call, your case may be dismissed for lack ofprosecution.
Counsel for Defendant/sV ifyou do not appear for calendar call, apre-trial guideline order may be
enteredwith or without your approval and/or signature.

Call the court for jury selection dates and pre-trial hearing dates. Keep in mind jury selection must be set
within thetimeframes recommended bytheTexas Supreme Court.

Ifthere are any questions rc^rding this matter please feel free tocall the court atthe number below.




                                                                                   Magdalena Martinez
                                                                                   Civil Court Coordinator
                                                                                   (956)523-4328
                     Case
11:05:38 a.m.12-05-2016 | 2 5:16-cv-00350
                            |     9565235121   Document
                                                |       1-3 Filed in TXSD on 12/07/16 Page 23 of 29
                                                     ilEBB CO DISTRICT CLERK Fax:956-523-5121        Dec 5 2016 11:25aiii P002/C04
                                                                                                                                      Filed

                                                                                                                           Esther Degoli do
                                                                                                                           District C"
                                                                                                                       RSTUI^bt, Qf I
                                                                                                        20i6CVF002577EdaferJo Gi
                                                                 CITATION                                               2016CVF00257t)3




              THE STATE OF TEXAS
                                                                                 COURT DATE 01/03/2017@l:30PM
              COUNTY OF WEBB


                                     DEPENDANT: "YOU HAVE BEEN SUED. YOC MAY EMPLOY AM ATTORNEY
              ISSUED
              OP     THISDAYS APTER^OU
                 TWENTY       4on°™^10 •MTm       "BITTEN ANSWER WITH THE ClIsRK WHO
                                       '^RE SERvL™4.T®™
              JUDGMENT MAY BE TAKEN AGAINST YOU."                                               ^   PETIiION, A DEFAULT
             TO:

                      GlfLsT^^TH^'sTRLfslf^f
                      AUSTIN,TX 78701
                                                                             ^SENT:CORPORATION SERVICE CO. AT:

             coSS'toVp^^r'^SpoS^Se
             to be held at the sa4                                                                  «®bb County. Texas,
             County iexas bv                                                   county in the city of Laredo, Webb
             be^or^io oro'cLcv ; M                                                the Petition of Plaintiff at or
             afteTtL   aata#:='20I6CVF002S77
             in the cause        3?rv44tl;re"D3 , st^Lf                                        expiration
                                                                                          ^=e°™Per.ies this ofcitation,
                                                                                                                20 days
                                                     oOSE M HOLGUIN, PLAINTIFF
                                                                       VS.
                                  STATS FARM LLOYDS AND RICARDO ALVARADO DEFENDANTS

                     ROBErV
                     ROBERT a^ pottov^'4''
                            A POLLOM, ATTORNEY                    °h 10/05/2016
                                                             FOR PLAINTIFF                in said court by:
                     16500 SAN PEDRO STE 302
                     SAN ANTONIO,   TX 78232



                                    =„.f                                                             —• /—
                                 clerk                             O     F        COURT


                                                                        ESTHER DEGOLLADO
                                                                        WEBB COUNTY DISTRICT CLERK
                                                                        P.O.    BOX 667
                                        V,         V.                   Laredo, tx 73042
                                               •Bsw. ?



                                                             BY:
                                                                                                            deputy
                                                                         ESMERALDA ALVARADO
                    Case
                      | 3 5:16-cv-00350
11:05:38a.m. 12-05-2016   |     956 5235121 Document 1-3 Filed in TXSD on 12/07/16 Page 24 of 29
                                                              ttlEBB CO DISTRICT CLERK Fax:956-523-5121          Dec 5 2016 11:25ain P003/004
                             State of lexas
                                                                        County of Webb                    341st District Court
                                                                                                   Cause # 20160/F002577 03
                                                         OKFfCKR's RETF R \



                            Came to hand on the aist day of November ?ni A_ atSSi^O o'clock P.M.
                                                    ^East 7th Street, Set 6?n Austin.                      7«7ni vyithin the
                            2oiTt
                             014 by oehvenng to the within named State Farm02t!l_day
                                                                              Llovrf, ofhy Novemh^r
                                                         Cprpomtion Service^., bv                               IT
                            #70160600000040173516. USPS Trackinn r^Jn
                            person, a rrue copy of this Citation, Plaintiff, Jose MHnln..in Piaimiff's
                           Onqma Patmon to Defendant State farm iloyH. Uy
                           t"h pleading
                           this  f         havingSgrvire  Co, together
                                                  first endorsed       withdate
                                                                 on same     theofaccompanyino   copy of
                                                                                   delivery. The distance
                           actually traveled by me mserving such process was miles and my fees
                           are as follows:                                                                                ^




                                                o                                                   '"the above action,
                           whth^
                           Which the process was served. 900d standing, in the judicial drcuit in

                                              Sworn to before me on the//^y
                                    ^ t h e affiant who is personally                          Raui Davila
                          •l^ovynito me.
                                                                                               SCH#11624 EXP 8/31 /2018
                                                                                               Dainia Civil Process
                           lOTARY PUBLIC
                                                                                               P.O. Box 1733
                                                                                               Helotes,TX 78023
                              km                                                               OFFICE # 210-275-4485
                                              jp*    25034
                                           ^^TlEjCO. 07-'2-2020




                           P.O. Bow 1733 Hwiotes Texas 78023            210-275-448
                                                                                           serves u nQntJSQhotmaM'.CDn
                     Case 5:16-cv-00350 Document 1-3 Filed in TXSD on 12/07/16 Page 25 of 29
11:05:38a.m, 12-05-2016

                                              «EBB CO DISTRICT CLERK Fax:956-523-5121         Dec 5 2016 11:25ain P004/004




                                            SECTIOA'            COAiPlSTE THip SEC-nOfJONDemmi^&

                                                                                               n Agsnt
                                                                                               n Addregsae
                                                                B. Recefv-6d bypnr,     IC.       of Defiii-sry
                                                                   i




                                        WfjTf'ai
      Case 5:16-cv-00350 Document 1-3 Filed in TXSD on 12/07/16 Page 26 of 29
                                                                                                                 Filed
                                                                                               11/28/2016 9:28:16 AM
                                                                                                     Esther Degollado
                                                                                                         District Clerk
                                                                                                         Webb District
                                                                                                          Sara Lopez
                                 CAUSE NO. 2016-CVF-002577 D3                                     2016CVF002577D3

JOSEM.HOLGUIN                                          §             IN THE DISTRICT COURT
                                                       §
                          Plaintiff                    §
                                                       §
vs.                                                    §             341®^ JUDICIAL DISTRICT
                                                       §
STATE FARM LLOYDS                                      §
AND RICARDO ALVARADO                                   §
                                                       §
                          Defendants                   §                WEBB COUNTY, TEXAS

              ORIGINAL ANSWER OF DEFENDANT STATE FARM LLOYDS
                             TO PLAINTIFF'S ORIGINAL PETITION

         STATE FARM LLOYDS ("State Farm"), Defendant in the above-styled and numbered

cause, and, reserving the right tofile other and further pleadings, exceptions and denials, files this

Original Answer to Plaintiffs Original Petition and would respectfully show the Court and Jury the
following:

                                         GENERAL DENIAL


         1.        Defendant asserts a general denial as is authorized by Rule 92 ofthe Texas Rules of

Civil Procedure.


         WHEREFORE, PREMISES CONSIDERED, Defendant, STATE FARM LLOYDS prays

upon a final hearing hereof Plaintiff recover nothing of and from Defendant STATE FARM
LLOYDS and theCourt enter atake-nothing judgment, and for allotherjustrelieftowhich itmay be

justly entitled.
   Case 5:16-cv-00350 Document 1-3 Filed in TXSD on 12/07/16 Page 27 of 29




                                             Respectfully submitted,

                                             JONES, ANDREWS & ORTIZ, P.C.


                                             By: /s/ Daniel C. Andrews
                                                    Daniel C, Andrews
                                                    State Bar No. 01240940
                                             10100 Reunion Place, Suite 600
                                             San Antonio, TX 78216
                                             Telephone: (210) 344-3900
                                             Facsimile: (210) 366-4301
                                             COUNSEL FOR DEFENDANT,
                                             STATE FARM LLOYDS



                                    CERTIFICATE OF SERVICE


          In accordance with theTexas Rules of Civil Procedure, on the 28^ dayof November, 2016,
the above and foregoing instrument was served upon:

Robert A. Pollom
Ketterman Rowland & Westlund
16500 San Pedro, Suite 302
San Antonio, Texas 78232

                                                    /s/ Daniel C. Andrews
                                                    Daniel C. Andrews




f:\dca\314-250\answer.l 128I6.doc
Case 5:16-cv-00350 Document 1-3 Filed in TXSD on 12/07/16 Page 28 of 29
                                                                                                               Filed
                                                                                               12/2/2016 2:23:05 PM
                                                                                                       Esther Degollado
                                                                                                          District Clerk
                                                                                                          Webb District
                                                                                                            Sara Lopez
                           Jones, Andrews & Ortiz                                                2oi6cvfoo2577D3
                                          Attorneys At Law
                                    A Professional Corporation
                                  10100 Reunion Place, Suite 600
                                    San Antonio. Texas 78216
Telephone 210/344-3900               Telecopy 210/366-4301                 Writer's E-mail Address:
                                                                                   dan@jao-Ia\v.coin
                                         December 2. 2016



Ms. Esther Degollado
District Clerk
 1110 Victoria St., Suite 203
Laredo, Texas 78040

        RE:      Cause No. 2016-CVF002577 D3: Jnse M. Holguin t'. Sfafa Farm Lloyds and Ricardo
                 Alvarado\ In the DistrictCourt,341"" .ludicial District, Webb County, Texas; OurFile
                 No. 314.250


Dear Ms. Degollado:

        Please provide a copy ofthe "Returns - Citation Return executed as to State Farm Lloyds as
reflected on the Court's docket with an activity date of November 14. 2016. With this electronic
filing we are submitting our payment in the amount of $3.00.

        The copies may be sent by facsimile to the number shown above, or by electronic mail to
 dan@iao-law.com. with a copy to iessica@iao-law.com.

        Thank you for your attention to this matter. Ifyou have any questions orcomments, please
 do not hesitate to contact mc.

                                                       Very truly yours.




                                                       Daniel C. Andrews


 DCA/jr
Case 5:16-cv-00350 Document 1-3 Filed in TXSD on 12/07/16 Page 29 of 29
                                                                                                                  Filed
                                                                                             12/5/2016 10:56:37 AM
                                                                                                      Esther Degollado
                                                                                                         District Clerk
                                                                                                         Webb District
                                                                                                           Sara Lopez
                           Jones, Andrews & Ortiz                                                2oi6cvfoo2577D3
                                         Attorneys At Law
                                    A Professional Corporation
                                  10100 Reunion Place, Suite 600
                                    San Antonio, Texas 78216
Telephone 210/344-3900               Telecopy 210/366-4301                 Writer's E-mail Address:
                                                                                   dan@iao-la\v.com
                                         December 2. 2016



Ms, Esther Degollado
District Clerk
1110 Victoria St.. Suite 203
Laredo, Texas 78040


        RE:      Cause No. 2016-C VF002577 D3; Jose M. Hol^iihi tl Slofc Farm Lloydsand Ricardo
                 Alvarado\ In the District Court, 34E' Judicial District, WebbCounty, Texas;Our File
                 No. 314.250


Dear Ms. Degollado:

        Please provide a copy ofthe "Returns - Citation Return executed astoState Farm Lloyds as
 reflected on the Court's docket with an activity date of November 14. 2016. With this electronic
 Filing we are submitting our payment in the amount of $3.00.

        The copies may be sent by facsimile to the number shown above, or by electronic mail to
 dan@iao-law.com. with a copy to ie.ssica@iao-law.com.

        Thank you for your attention to this matter. Ifyou have any questions orcomments, please
 do not hesitate to contact me.

                                                       Very truly yours.



                                                       Daniel C. Andrews


 DCA/ir
